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FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

IN THE UNITED STATES DISTRICT COURT
Fl|££) BY % g_c.

JUSTIN HUDSON, Surviving Child of
JENNIFER BRADDOCK, Deceased, by his next
friend (Guardian) Pamela Davis;

and PAMELA DAVIS,

Plaintiffs,
V.

SUSAN HUDSON; CITY OF MEMPHIS, a
Governmental Entity; MEMPHIS POLICE
OFFICER BARRON, #0508, individually;
MEMPHIS POLICE OFFICER JOHNSON,
#4431, indiv.;MEMPHIS POLICE OFFICER
MORRIS, #1866, indiv.; MEMPHIS POLICE
OFFICER OWEN, #6420, indiv.; MEMPHIS
POLICE OFFICER WIGGINS, #1055, indiv.;
COUNTY OF SHELBY, a Governmental Entity;
and JOHN DOES 1-5,

\_/\_/\_d\_/\_/\_/\_/\/\_/\_J\_d\_/\_JW\,/\_/\_d\_l`_/\./V\_/

Defendants.

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No. 04-2662-DP
JURY TRIAL DEMANDED

 

ORDER STRIKING MOTIONS WITHOUT PREJUDICE

 

On March 22, 2005, the Court ordered that the pending summary judgment motions be continued

until Plaintift` had the opportunity to conduct discovery. Therefore, the Clerk is hereby directed to strike

summary judgment motions at Docket Entn`es #31, #35, and #40 Without prejudice to restoration upon

notice to the Court or at the close of discovery.

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1T1s so oRDEREI) this él‘/ day of Augusr, 2005.

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 62 in
case 2:04-CV-02662 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

